Case 23-12065-MBK            Doc 43      Filed 12/27/23 Entered 12/27/23 14:23:42                   Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY


In Re:                                                      Case No.:              23-12065
                                                                              __________________
 Ioana Nedelcu                                              Chapter:                   7
                                                                              __________________
                                                            Judge:                   MBK
                                                                              __________________


                              NOTICE OF PROPOSED ABANDONMENT

             Karen E. Bezner
__________________________________,                  Trustee
                                             ____________________     in this case proposes to abandon
property of the estate described below as being of inconsequential value. If you object to the
abandonment, you must file a written objection with the Clerk of the United States Bankruptcy Court and
serve it on the party named below not later than 7 days before the hearing date.

 Address of the Clerk: Jeanne A. Naughton, Clerk
                          United States Bankruptcy Court
                          United States Courthouse
                          402 East State Street
                          Trenton, New Jersey 08608
                                                                                    Michael B. Kaplan, C.U.S.B.J.
If an objection is filed, a hearing will be held before the Honorable _______________________________
        January 25, 2024
on ______________________               10:00
                                  at ________a.m.       at the United States Bankruptcy Court, Courtroom no.
     8
________. (Hearing date must be at least 28 days from the date of this notice). If no objection is filed, the
abandonment shall take effect on entry by the clerk of a Certification of No Objection.
 Description and value of property: Trustee abandons residential property in Potlogi Commune,
                                       Dambovita County, Romania, purchased by debtor at private
                                       sale in November, 2008 for $40,000.00



 Liens on property:                    Costs of sale estimated at 20%, or $8,000.00. Real estate
                                       taxes and other charges remain unpaid since 2008, and likely
                                       exceed the value of the property. Costs of sale exceed the
                                       value of the property to the estate. The property is
                                       burdensome to the estate.


 Amount of equity claimed as exempt: $0.00



Objections must be served on, and requests for additional information directed to:

Name:            Karen E. Bezner, Trustee /s/ Karen E. Bezner
                 ________________________________________________________________________
Address:         567 Park Avenue, Suite 103, Scotch Plains, New Jersey 07076
                 ________________________________________________________________________
               (908) 322-8484
Telephone No.: ________________________________________________________________________

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